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    In the United States Court of Federal Claims
                                      OFFICE OF SPECIAL MASTERS
                                          Filed: January 15, 2021

* * * * * * * * * * * * *  *
JANET H. STUCHAL,          *                                   No. 17-1294V
                           *                                   Special Master Sanders
         Petitioner,       *
                           *                                   UNPUBLISHED
v.                         *
                           *
SECRETARY OF HEALTH        *                                   Attorneys’ Fees and Costs
AND HUMAN SERVICES,        *
                           *
         Respondent.       *
* * * * * * * * * * * * * *

Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for Petitioner.
Heather L. Pearlman, United States Department of Justice, Washington, DC, for Respondent.

                  DECISION AWARDING ATTORNEYS’ FEES AND COSTS1

        On September 20, 2017, Janet H. Stuchal (“Petitioner”) filed a petition for compensation
pursuant to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-10 to -34
(2012); Pet. at 1, ECF No. 1. Petitioner alleged that the tetanus-diphtheria-acellular-pertussis
(“Tdap”) and/or influenza (“flu”) vaccine she received on September 24, 2014, caused her to
develop transverse myelitis (“TM”). See Stip. at 1, ECF No. 41; Pet. at 1. On September 14, 2020,
the parties filed a stipulation for award, which the undersigned adopted as her decision awarding
compensation on September 16, 2020. ECF No. 42.

       On October 2, 2020, Petitioner filed a motion for attorneys’ fees and costs. ECF No. 46
(“Fees App.”). Petitioner requests total attorneys’ fees and costs in the amount of $15,793.61,

1
  The undersigned intends to post this Ruling on the United States Court of Federal Claims' website. This
means the Ruling will be available to anyone with access to the Internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this case,
the undersigned is required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services).
2
 National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease of citation,
all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa (2012).
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representing $12,508.60 in attorneys’ fees and $3,285.01 in attorneys’ costs. Fees App. at 2.
Pursuant to General Order No. 9, Petitioner has indicated that she has not incurred any out of
pocket costs. Id. Respondent responded to the motion on October 9, 2020, stating that Respondent
“is satisfied that the statutory requirements for an award of attorneys’ fees and costs are met in this
case” and asking the Court to “exercise its discretion and determine a reasonable award for
attorneys’ fees and costs.” Resp’t’s Resp. at 2-3, ECF No. 47. Petitioner did not file a reply
thereafter.

        This matter is now ripe for consideration.

   I.         Reasonable Attorneys’ Fees and Costs

         The Vaccine Act permits an award of reasonable attorneys’ fees and costs. § 15(e). The
Federal Circuit has approved the lodestar approach to determine reasonable attorneys’ fees and
costs under the Vaccine Act. Avera v. Sec’y of Health & Human Servs., 515 F.3d 1343, 1348 (Fed.
Cir. 2008). This is a two-step process. Id. First, a court determines an “initial estimate . . . by
‘multiplying the number of hours reasonably expended on the litigation times a reasonable hourly
rate.’” Id. at 1347–48 (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)). Second, the court may
make an upward or downward departure from the initial calculation of the fee award based on
specific findings. Id. at 1348.

    It is “well within the special master’s discretion” to determine the reasonableness of fees.
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521–22 (Fed. Cir. 1993); see also Hines
v. Sec’y of Health & Human Servs., 22 Cl. Ct. 750, 753 (1991). (“[T]he reviewing court must grant
the special master wide latitude in determining the reasonableness of both attorneys’ fees and
costs.”). Applications for attorneys’ fees must include contemporaneous and specific billing
records that indicate the work performed and the number of hours spent on said work. See Savin
v. Sec’y of Health & Human Servs., 85 Fed. Cl. 313, 316–18 (2008). Such applications, however,
should not include hours that are “‘excessive, redundant, or otherwise unnecessary.’” Saxton, 3
F.3d at 1521 (quoting Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)).

        Reasonable hourly rates are determined by looking at the “prevailing market rate” in the
relevant community. See Blum, 465 U.S. at 895. The “prevailing market rate” is akin to the rate
“in the community for similar services by lawyers of reasonably comparable skill, experience and
reputation.” Id. at 895, n.11. Petitioners bear the burden of providing adequate evidence to prove
that the requested hourly rate is reasonable. Id.

        a.       Hourly Rate

        The decision in McCulloch provides a framework for consideration of appropriate ranges
for attorneys’ fees based upon the experience of the practicing attorney. McCulloch v. Sec’y of
Health & Human Servs., No. 09-293V, 2015 WL 5634323, at *19 (Fed. Cl. Spec. Mstr. Sept. 1,
2015), motion for recons. denied, 2015 WL 6181910 (Fed. Cl. Spec. Mstr. Sept. 21, 2015). The
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Court has since updated the McCulloch rates, and the Attorneys’ Forum Hourly Rate Fee
Schedules for 2015–2016, 2017, 2018, 2019, and 2020 can be accessed online.3

       Petitioner requests the following rates of compensation for her attorney, Mr. Paul Brazil:
$317.00 per hour for work performed in 2018, $325.00 per hour for work performed in 2019, and
$350.00 per hour for work performed in 2020. These rates are consistent with what Mr. Brazil has
previously been awarded for his Vaccine Program work, and the undersigned finds them to be
reasonable herein.

         b. Reasonable Number of Hours

         Attorneys’ fees are awarded for the “number of hours reasonably expended on the
litigation.” Avera, 515 F.3d at 1348. Counsel should not include in their fee requests hours that are
“excessive, redundant, or otherwise unnecessary.” Saxton, 3 F.3d at 1521 (quoting Hensley v.
Eckerhart, 461 U.S. 424, 434 (1983)).

        Upon review, the undersigned finds the overall hours billed to be reasonable. Petitioner is
therefore awarded final attorneys’ fees of $12,508.60.

         c. Attorney Costs

         Like attorneys’ fees, a request for reimbursement of attorneys’ costs must be reasonable.
Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed. Cl. 1992). Petitioner requests
a total of $3,285.01 in attorneys’ costs for postage, medical records and work performed by
Petitioner’s expert, Dr. Maria Chen. Fees App. at 12. Petitioner has provided adequate
documentation of all these expenses and they appear reasonable. Petitioner is therefore awarded
the full amount of costs sought.

         II.   Conclusion

        In accordance with the Vaccine Act, 42 U.S.C. §15(e) (2012), the undersigned has
reviewed the billing records and costs in this case and finds that Petitioner’s request for fees and
costs is reasonable. Based on the above analysis, the undersigned finds that it is reasonable to
compensate Petitioner and her counsel as follows:

    Attorneys’ Fees Requested                                         $12,508.60
    (Reduction to Fees)                                                    -
    Total Attorneys’ Fees Awarded                                     $12,508.60

    Attorneys’ Costs Requested                                        $3,285.01
    (Reduction of Costs)                                                  -
    Total Attorneys’ Costs Awarded                                    $3,285.01



3
 The OSM Fee Schedules are available at: http://www.cofc.uscourts.gov/node/2914. The hourly rates
contained within the schedules are updated from the decision in McCulloch, 2015 WL 5634323.
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    Total Attorneys’ Fees and Costs                                       $15,793.61


       Accordingly, the undersigned awards a lump sum in the amount of $15,793.61,
representing reimbursement for Petitioner’s attorneys’ fees and costs, in the form of a check
payable to Petitioner and Petitioner’s counsel, Mr. Paul Brazil.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court is directed to enter judgment herewith.4

                IT IS SO ORDERED.

                                                         s/Herbrina D. Sanders
                                                         Herbrina D. Sanders
                                                         Special Master




4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
